UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- X   18-CV-5244 (SJF)(AKT)
CARL SEMENCIC,
                                                              Plaintiff,
                               -against-                                         NOTICE OF
THE COUNTY OF NASSAU; THE NASSAU COUNTY                                     CROSS-MOTION FOR
POLICE DEPARTMENT; COMMISSIONER PATRICK J.                                    RELIEF FROM AN
RYDER, individually and officially; POLICE OFFICER                          ORDER PURSUANT TO
ROBERT B. McGRORY, individually and officially;                              FED. R. CIV. P. 55 and
POLICE OFFICER KENNTH J. MAGNUSON,                                            FED. R. CIV. P. 60
individually and officially; JOHN DOE #1, individually and
officially; THE FRANKLIN SQUARE AND MUNSON
FIRE DEPARTMENT; DANIEL MALONEY, individually;
ROBERT FINEO, individually; and JOHN DOE #2,
individually,
                                                           Defendants.
----------------------------------------------------------------------- X


        PLEASE TAKE NOTICE, that upon the Declaration of Stephen Carlin, Deputy County

Attorney, dated April 20, 2020, the accompanying Memorandum of Law dated April 20, 2020,

and all prior pleadings and proceedings had herein, defendants, County Of Nassau, The Nassau

County Police Department, Patrick J. Ryder, Robert B. McGrory, and Kenneth J. Magnuson

(hereinafter collectively referred to as the “County Defendants”), by their attorney, Jared A.

Kasschau, Nassau County Attorney, by Stephen Carlin, Deputy County Attorney, will move this

Court, before the Hon. Sandra J. Feuerstein, at the courthouse located at 100 Federal Plaza,

Central Islip, New York at a time to be scheduled by the Court, for relief from the oral and

unrecorded Order of Contempt and Order striking the County Defendants’ Answer at the March

10, 2020 conference, Pursuant to Fed. R. Civ. P. 55 (c) and/or Fed. R. Civ. P. 60 (a), (b) (1) and

(6), and together with all such other and further relief the Court deems proper.

        PLEASE TAKE FURTHER NOTICE, that, pursuant to Judge Feuerstein’s Electronic

Order dated March 26, 2020, reply affidavits and memoranda shall be served by May 1, 2020.
Dated: Mineola, New York
       April 20, 2020
                                                           JARED A. KASSCHAU
                                                           Nassau County Attorney
                                                           Attorney for the County Defendants

                                                     By:   /s/ Stephen Carlin
                                                           Stephen Carlin
                                                           Deputy County Attorney
                                                           One West Street
                                                           Mineola, New York 11501
                                                           (516) 571-6074

TO: (Via ECF)

Brian T. Stapleton, Esq.
Attorney(s) for Plaintiff
Bennett Bricklin & Saltzburg LLC
50 Broad Street
Suite 1609
New York, NY 10004

Bee Ready Fishbein Hatter and Donovan
Attorney(s) for the Fire Department Defendants
170 Old Country Road
Suite 200
Mineola, NY 11501




                                                 2
